Case 1:05-cr-100lO-.]DT Document 31 Filed 06/13/05 Page 1 of 2 Page|D 33

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IN THE UNITED sTATEs DISTRICT coURT § "“"D'C~
FoR THE wESTERN DISTRICT oF TENNESSEE 05JUH 13 AH
EASTERN DIVISION 8‘ 16
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SI§R§FUS, D;§FT?OL:T@
UNITED sTATES oF AMERICA ' m JAC`F'\'SO!\I
vs Criminal No. l:OS-CR-lOOlO-Ol~T

TED CARROLL

ORDER CONTINUING TRIAL DATE AND SPECIFYING DELAY
EXCLUDABLE UNDER SPEEDY 'I'RIAL ACT

Upon motion of counsel for defendant the trial date of
June 20, 2005, is continued due to unavailability of defense
counsel and to allow counsel additional time in Which to prepare.
The ends of justice served by taking such action outweigh the best
interest of the public and the defendant in a speedy trial.

The Clerk shall re-set TRIAL DATE for Mondayl Auggst 1l 2005
at 9:30 A.M. The Court finds that the grounds for this continuance
justified excluding the period of June 20, 2005, to August l,
2005, as excludable delay under Title 18 U.S.C.§3161(h)(8)(B)(iv)

and(h)(S)(A).

IT IS 30 ORDERED. Q?/yy\” ,

JY)ES D. ToDD
U TED sTA ES DISTRICT JUDGE

DATE:/§U Mjf

Thfs document entered on the docket sheet_in compliance
with nme 55 and/ur 32(b) mch on LQ l l 3 l 0 5

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DISTRIC COURT - WESRNTE D"'TRCT oFTENNESSEE

thice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:05-CR-10010 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Donald SchWendimann
LAW OFFICE OF DONALD SCHWENDMANN
12 East Fourth Avenue
Hohenwald, TN 38462

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson7 TN 38301

Honorable J ames Todd
US DISTRICT COURT

